                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


UNITED STATES OF AMERICA                   )
                                           )
V.                                         )        NO: 2:11-00003-2
                                           )        JUDGE SHARP
JOSHUA EDWARD CALDWELL                     )


                                           ORDER

        Pending before the Court is a Joint Motion to Continue Sentencing Hearing (Docket No.

258).

        The motion is GRANTED and the sentencing hearing set for set for December 9, 2013,

is hereby continued to Monday, May 19, 2014, at 10:30 a.m.

        It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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